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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

DANIEL DALE HALL,

Plaintiff,                                             Case No. 3:17-cv-00488-JD-MGG

        v.
                                                       Honorable Judge Jon E. DeGuilio
HELVEY & ASSOCIATES, INC.,

Defendant.


                                    NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that DANIEL DALE HALL (“Plaintiff”), hereby notifies the

Court that the Plaintiff and Defendant, have settled all claims between them in this matter and are

in the process of completing the final closing documents and filing the dismissal. The Parties

anticipate this process to take no more than 60 days and request that the Court retain jurisdiction

for any matters related to completing and/or enforcing the settlement. The Parties propose to file

a stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.


Respectfully submitted this 21st day of September, 2017.

                                                              Respectfully submitted,

                                                              s/ Nathan C. Volheim
                                                              Nathan C. Volheim
                                                              Sulaiman Law Group, Ltd.
                                                              2500 S. Highland Avenue, Suite 200
                                                              Lombard, IL 60148
                                                              (630) 575-8181
                                                              nvolheim@sulaimanlaw.com
                                                              Attorney for Plaintiff


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                                 CERTIFICATE OF SERVICE

       I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of record.


                                                           s/ Nathan C. Volheim
                                                           Nathan C. Volheim




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